                IN THE UNITED STATES BANKRUPTCY COURT
                       FOR THE DISTRICT OF KANSAS
                                Kansas City

In re:                                                            )

MARK H ENGEN                                                      )
MAUREEN E. ENGEN
                                                                  )
                          Debtors,
                                                                  ) Case No. 15-20184
______________________________________________
                                                                    Chapter 13
BMO HARRIS BANK, N.A.                                             )

                                                                  )
                          Creditor.




                                MOTION TO REDACT


         COMES NOW BMO Harris Bank, N.A. ("Creditor"), by and through its

undersigned counsel, and for its Motion to Redact states as follows:

         1.    On March 9, 2015, Creditor filed a Proof of Claim which inadvertently

included unredacted personal information of the Debtors, including loan numbers.

         2.    This Court has the authority to limit access to documents which include

private information pursuant to Local Bankruptcy Rule 9037.1 and Rule 9037(d) of the

Federal Rules of Bankruptcy Procedure.

                 (d) Protective Orders. For Cause, the Court may by order in a case
                     under the Code…(2) limit or prohibit a nonparty’s remote
                           electronic access to a document with the Court.




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       3.        Public access to the unredacted information is likely to prejudice the

Debtors’ privacy interests because the available information is personally identifiable to

the Debtors.

       4.        A redacted copy of the Proof of Claim is attached.

       WHEREFORE, for the foregoing reasons, Creditor respectfully requests that this

Court enter an order to require the Clerk of the Court to disable public access to the Proof

of Claim and for such other and further relief as is just and appropriate under the

circumstances.

                                   Respectfully submitted,

                                   MARTIN LEIGH PC

                                    s/Carrie D. Mermis
                                    Carrie D. Mermis #78085, cdm@martinleigh.com
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                                    Kansas City, MO 64105
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                                    ATTORNEY FOR CREDITOR




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                             CERTIFICATE OF SERVICE

       The undersigned does hereby certify that on this 8th day of August, 2017, a true
and correct copy of the above and foregoing was electronically filed through the Court’s
CM/ECF system and noticed to the following:

David A. Reed
7823 Parallel Parkway
Kansas City, KS 66112

William H Griffin
5115 Roe Blvd Ste 200
Roeland Park, KS 66205-2393

Office of the U.S. Trustee
301 North Main Suite 1150
Wichita, KS 67202


And mailed via regular U.S. mail, postage prepaid, this 8th day of August, 2017, to the
following:

Mark H Engen
Maureen E. Engen
7905 W. 96th Street
Overland Park, KS 66212


                                                   s/Carrie D. Mermis _
                                                   Attorney for Creditor




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